                                                                                      FILED
                                                                             2025 Jan-30 AM 07:29
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA


CASSANDRA SIMON, SYDNEY
TESTMAN, MIGUEL LUNA, ISABELLA
CAMPOS, DANA PATTON, RICHARD
FORDING AND THE ALABAMA STATE                   Case No. 2:25-cv-00067-MHH
CONFERENCE OF THE NAACP

Plaintiffs,

v.

KAY IVEY in her official capacity as
Governor of Alabama and President Ex-
Officio of the University of Alabama Board
of Trustees, SCOTT PHELPS in his official
capacity as President Pro Tempore,
University of Alabama Board of Trustees,
MIKE BROCK, KAREN BROOKS,
MYLA E. CALHOUN, RONALD GRAY,
JEFF GRONBERG, O.B. GRAYSON
HALL JR., BARBARA HUMPHREY, W.
DAVIS MALONE III, EVELYN
VANSANT MAULDIN, HARRIS
MORRISSETTE, J. STEVEN ROY,
KENNETH SIMON, MARIETTA
URQUHART and KENNETH
VANDERVOORT in their official
capacities as members of the University of
Alabama Board of Trustees

Defendants.

                     DECLARATION OF MIGUEL LUNA

I, Miguel Luna, hereby declare and state as follows:

      1.      My name is Miguel Luna, and I am over 18 years of age.
      2.      I have personal knowledge of the matters set forth herein and, if called

to testify, could and would competently do so.

      3.      I am from Leeds, Alabama, an eastern suburb of Birmingham. I am

currently enrolled as a junior at the University of Alabama at Birmingham (“UAB”).

I am majoring in Political Science and History.

      4.      I am involved with several student organizations that are committed to

advancing racial and social justice.

      5.      I currently serve as the president of Esperanza, a group that I co-

founded in the spring of 2024. Esperanza was originally founded to provide support

for Latine students at UAB and improve their retention rates. In this role, I oversee

Esperanza’s programming and funding operations, and collaborate with other

campus groups to facilitate mentorship, networking, and professional development

opportunities for the Latine student community at UAB.

SB 129’s Impact on my Education

      6.      I understand that SB 129 subjects university professors to discipline if

they “advocate” for a “divisive concept” in their classes. I understand that “divisive

concepts” include:

      • “That any race, color, religion, sex, ethnicity, or national origin is

           inherently superior or inferior.” SB 129 § 1(2)(a).



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• “That individuals should be discriminated against or adversely treated

   because of their race, color, religion, sex, ethnicity, or national origin.” SB

   129 § 1(2)(b).

• “That the moral character of an individual is determined by his or her race,

   color, religion, sex, ethnicity, or national origin.” SB 129 § 1(2)(c).

• “That, by virtue of an individual’s race, color, religion, sex, ethnicity, or

   national origin, the individual is inherently racist, sexist, or oppressive,

   whether consciously or subconsciously.” SB 129 § 1(2)(d).

• “That individuals, by virtue of race, color, religion, sex, ethnicity, or

   national origin, are inherently responsible for actions committed in the past

   by other members of the same race, color, religion, sex, ethnicity, or

   national origin.” SB 129 § 1(2)(e).

• “That fault, blame, or bias should be assigned to members of a race, color,

   religion, sex, ethnicity, or national origin, on the basis of race, color,

   religion, sex, ethnicity,

   or national origin.” SB 129 § 1(2)(f).

• “That any individual should accept, acknowledge, affirm, or assent to a

   sense of guilt, complicity, or a need to apologize on the basis of his or

   her race, color, religion, sex, ethnicity, or national origin.” SB 129 §

   1(2)(g).

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      7.     “That meritocracy or traits such as a hard work ethic are racist or

sexist.” SB 129 § 1(2)(h).

      8.     Restricting what a professor can and cannot teach about a given subject

directly interferes with my education. As a political science major, it is critically

important for me to learn about structural racism, implicit bias, and White privilege,

among other things. These topics may fall within the definition of “divisive

concepts” that are prohibited in SB 129. Yet, I understand that SB 129 puts my

professors at risk if they, for example, teach that implicit bias impacts law

enforcement and our legal system or that political representation is not colorblind,

and these teachings are considered to be “divisive concepts.”

      9.     Likewise, my ability to learn is materially hampered if a professor feels

compelled to change their curriculum out of fear that teaching about a “divisive

concept” will be deemed an attempt to “compel assent” to that concept. For example,

in my Politics and Race in America course, we studied racial stratification within

the United States and how it is influenced by politics. We also discussed the civil

rights and political gains that communities of color achieved during the Civil Rights

Movement in the mid-twentieth century and explored the relationship between race

and political behavior.

      10.    It is impossible for students to understand the role of race in American

politics without understanding systemic racism and unconscious bias. If professors


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feel that they cannot teach about the role of White supremacy in the violence and

racial terror inflicted upon Black Americans as they sought to gain the right to vote

because these professors fear that some in the class might feel a sense of guilt or

responsibility (divisive concepts e and f), then they cannot fully educate students

about modern electoral politics.

      11.    I have already witnessed the impacts of SB 129 on my professors and

my classes. Last semester, I took a course titled Human Rights. The professor added

language to the syllabus that read: “Note on Academic Freedom: All University

faculty, instructors and teaching staff have the academic freedom to explore, discuss,

and provide instruction on a wide range of topics in an academic setting. This class

may present difficult, objectionable, or controversial topics for consideration, but

will do so through an objective, scholarly lens designed to encourage critical

thinking. Though students may be asked to share their personal views in the

academic setting, no student will ever be required to assent or agree with any concept

considered ‘divisive’ under Alabama law, nor penalized for refusing to support or

endorse such a concept. All students are strongly encouraged to think independently

and analytically about all material presented in class and may express their views in

a time, place, and manner, consistent with class organization and structure, and in

accordance with the University’s commitment to free and open thought, inquiry, and

expressions.” During my class on Human Rights, I observed my professor speak


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very timidly about topics that could possibly fall under SB 129. For example, he

seemed wary of how he presented course materials to students about human rights

violations experienced by incarcerated African American in the Alabama prison

system.

      12.    I currently am enrolled in a course called Environmental Politics. The

course is taught by the same professor who taught the Human Rights course. Again,

this professor included the same language in the Environmental Politics syllabus that

had been in the Human Rights syllabus last semester.

      13.    The Environmental Politics course covers contemporary and historical

environmental issues in domestic and foreign politics. I chose to enroll in this course

because I am interested in learning more about environmental policymaking, as well

as the growing environmental justice movement.

      14.    I fear that SB 129 will lead my Environmental Politics professor to

avoid topics that are central to the course, such as the impact of characteristics like

race, class, and gender on the development and implementation of environmental

policies, for fear that they would be considered “divisive concepts” under SB 129. I

am also worried that my professor will shy away from discussions about how

systemic inequalities impact environmental conditions, such as access to clean water

and exposure to air pollution, due to a concern that they are deemed “divisive

concepts” under SB 129. For example, one of the central issues in the modern


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environmental justice movement is the placement of hazardous waste and toxic

chemical sites in communities of color. Due to SB 129’s prohibitions, I fear my

professor may not be able to provide all the information about this issue that they

have in past versions of the course prior to SB 129’s implementation and might water

down their views about the role of race in this issue.

      15.    I plan to enroll in additional courses on race and gender throughout the

duration of my studies at UAB, because they help me contextualize my own

experiences, and I am interested in learning from perspectives that have historically

been underrepresented. Yet, my ability to learn to think critically about issues

pertaining to race and gender inequality through honest, uncensored instructions is

impeded if a professor is limited on how they can teach about these issues due to

fear of discipline or termination for possibly teaching a prohibited “divisive

concept.”

      16.    Limitations on the information I can receive and discuss in my college

classes affect my future career, in addition to my education. As a Political Science

and History double major, learning about how past events influence contemporary

policies and political behavior is critical for my professional development. However,

if my professors feel compelled to limit conversations about race and gender and

how they relate to the political system due to SB 129, I will be denied instruction

that would have helped me become a more informed and effective policymaker.


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SB 129’s Impact on Student Organizations

      17.    After Governor Ivey signed Senate Bill 129, I became deeply concerned

about the bill’s impact on Esperanza’s ability to fulfill its mission of supporting

Latine UAB students.

      18.    Since its founding, Esperanza has relied heavily on funding from the

UAB office formerly known as the Office of Diversity, Equity and Inclusion. I

understand that this office was closed to comply with SB 129.

      19.    I also understand that multiple student organizations throughout the

University of Alabama system have lost funding as a direct result of SB 129.

      20.    I am concerned that Esperanza, due to its focus on issues pertinent to

Latine students, will be deemed a “diversity, equity and inclusion program” that is

barred from University funding under SB 129. The language of SB 129 is vague,

confusing, and unhelpful in determining Esperanza’s status. It defines a “diversity,

equity and inclusion program” as: “Any program, class, training, seminar, or other

event where attendance is based on an individual's race, sex, gender identity,

ethnicity, national origin, or sexual orientation, or that otherwise violates this act.”

While Esperanza membership is open to all UAB students regardless of race or

ethnicity, its members are primarily Latine, and its stated focus is on issues of

importance to Latine students.

      21.    In addition, UAB school officials informed me that if Esperanza applies


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for funding for an event that is deemed to be related to a “divisive concept” under

SB 129, that funding will be denied. Once again, I cannot determine what would and

would not violate SB 129 and thus what funding Esperanza remains eligible for. For

example, if Esparanza held a program focused on implicit bias in hiring or on White

privilege, the topic might be considered a “divisive concept” under SB 129.

      22.    SB 129 also has impacted, and continues to impact, Esperanza’s

funding sources by withdrawing funding from other organizations at UAB that, in

turn, would normally provide funding to Esperanza. For example, Esperanza has

received financial support from the Social Justice Advocacy Council (“SJAC”) at

UAB. SJAC, however, lost its dedicated funding from the University as a result of

SB 129.

      23.    Without access to funding resources from the University, whether

directly or through other organizations like SJAC, Esperanza is unable to provide

the programming, opportunities, and resources that it offered to Latine students

before SB 129 went into effect. For example, Esperanza wanted to host a panel event

for Latine pre-law students, with a particular focus on underrepresented

communities. That event may not be possible without the financial support we would

have had before SB 129 went into effect.

      24.    Esperanza also would like to host events on how to leverage Latine

racial diversity, Spanish language skills, and navigate anti-Latine discrimination in


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the workplace. Not being able to receive financial support from UAB means we

possibly could not provide food or refreshments to attendees, or water to attendees

and panelists at events, and would be significantly disadvantaged in attracting high-

quality guest speakers through even modest honorariums.

      25.    SB 129’s impacts on Esperanza cause me direct harm as an individual.

Without Esperanza’s access to funding in question, I am deprived of the opportunity

to network and associate with other students on issues of importance to the Latine

community and to participate in programming about the Latine community. This

severely restricts my ability to express my viewpoints about Latine individuals and

my community at UAB.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and accurate.

Executed on January 29, 2025.



                                  ___________________________
                                  Miguel Luna




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